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                            UNITED STATES DISTRICT COURT                    J       . UDLEM   ERK
                                                                          BY:
                            W ESTERN DISTRICT OF V IRGINIA                      D        L

                   '
                               )
IN REAPPLICATION OF'1TIE       )
UNITED STATES0FAM ERICX FOR )                      M lsc,xo.- ...  1.
                                                                    -lq G ff
AN ORDER PURSUANT TO           )
18U.S.C.j2703(d)FOR RECORDSANb )
INFORM ATION RELATED TO THE    )
IPADDRESS68.108.76.123
               '               )                   Filed UndezbSeal
  .                         .
                               )

                       APPLICATION OF TI'IE UNITED STATES
                   FOR AN ORDER PURSUANT TO 18U.S.C.$27034d)
       The United Statek ofAm erica,m oving by and tlzrough itstmdersigned counsel,

respectfully subm itstm der sealthis exparte application foran Orderpm suaritto 18U .S.C .
                                                               '
                                ..


j2703(d).TheproposedOréerwouldrequireCoxCommunications,anlnternetservice
provider,located in Atlanta,Georgia,to disclose certain recordsand otherinform ation pertaining

totheIP address68.108,76.123,asdescribedin PM IofAitachmentA.Therecordsandother
irtformationtobedisclosedaredescribedihPart11ofAtïachmentA totheproposedOrder.In
supportofthisapplication,theUnited Statesasserts:

                                     LEGAL BA CKGROU ND

              Cox Com municationsis aproviderofmzelectronic com m unicationsservice,as

defnedin18U.S.C.j2510415),and/oraremotecomputingservice,asdefmedin18U.S.C.j
2711(2).Accordingly,theUnitedStatesmayuseacourtorderissuedtmder527034d)torequire
Cox Com m unicationsto disclose the item sdescribed in PM 11ofAttachm entA . See 18 U .S.C.

j2703(c)(2)(PartH.A ofAttachmentA);18U.S.C,j2703(c)(1)(PattI1.B ofAttachmentA).

              ThisCom'
                     thasjurisdictiontoissuetlw proposedOrderbecauseitis%Gacourtof
competentjurisdictiony''asdefinedin18U.S.C.j2711.See18U.S.U.j2703(d).Specifically,



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theCom'tisadistrictcourtoftheUnitedStatesthathasjurisdictionovertheofensebeing
investigated.See18U.S.C,j2711(3)(A)(i).

              A coul'
                    torderunderj.2703(d)Sçshallissueonlyifthegovernmentalentityoffers
specific and articulable facts show ing thatthere m'e reasonable groundsto believ:thatthe

contents ofa wire ortleotrollic oomm unicatitm ,orthe recordsorotherinform ation sought,are

relevantjndmaterialtoan ongoipg criminalinvestigation.''18U.S.C.j2703(d).Accordingly,
thenextsection oftMsapplication setsforth specifcand articulablefactsshowlng'thatthereare
reasonable groundsto believethatthe records and.otherinforination described in Pat411of

Attachm entA are relevantand m aterialto an ongoing crim inalinvéstigation.

                                  THE RELEVANT FACYS
              TheUnitedStates(specifically,theUnited StatesM àrshalsService)is
investigatingKEVIN THOM ASSEIGLER whohasviolated1'8U.S.C.j3146andisactively
evadikgfa* ertforcement.
              The follow ing inform ation w asprovided to m e by D eputy U nited StatesM arshal
                .




Jim Satterwhite:

           a. On N ovem ber 08, 2016, a federal arrest w aqatlt. w as issued for KEW N

              SEIGLER,intheW esternDistrictofVirginia,dhérginghim with Conspiracyto
              D istribute M etham phetam ine and Oxycodone. Subsequently,he wasarrested for

              thisoffense on November17,2016,and'placed on pre-trialsupetwision;allowing

              him toreturn hometoLasVegas,Nevadaandprepm'
                                                        eforhispending trial.
           b. On M ay 01,2017,SEIGLER failed to appearforhis frstday ofkialtherefore a

              secondarrestwarrantwasissued foraviolation 18U.S.C.j3146. TheUnited
              StatesM arshals Service adopted thiscase for apprehension ptlrposes. Further,on




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               September08,2017,athirdarrestwr antwasissued forourtarget,charging him

               with'violations of pre-trial supervision. Finally,on October 24,2017, a grand

               jtuy of the W estern District of Virginia, Abingdon Division,returned an .
               indictmentchargingSEIGLER with.violationsof18U.S.C'
                                                                 .j3146,andan arrest
               was issued. The United States M arshals Selwice has continued to search for

               SEIGLER sinceMay01,2017,buttodatehe'sstiliconsidered afederalfugitive.
                                                                .




            c. During the course of this investigation,it was discoveted that SEIGLER was

               utilizingtheAppleID quilcsta7oz8z@ibloud.com,forwhichasubsequentfederal
               search warrantwas p anted in the W estern Districtof Virginia on October 03,
               2017. On'October 29, 2017,inform ation received f'
                                                                rom that search w arrant
                                                                    .




               revealed that SEIGLER reset his Facebook passw ord on October 01, 2017 at

               9:27pm (PDT),'utilizing the IP address 68.108.76.123. This IP address is
               provided serviceby Cox Communications.

                                   REOUESTFOR ORDER
               The fad ssetforth in theprevioussection show thatthere are reasonable grounds

to believe thatthe recordsand otherinform ation described in PM 11ofAttachm erttA are .

relevantand m aterialto an ongoing crim inalinvestigation. Specifk ally,these item swillhelp the

Uzlited Statesto identifyand locatetheindividualwhoisallegedlyusing Cox Communication,        ,




andwhoi'
       saftzgitiveactivelyevadinglaw entbrcement.Accoréingly,theUnitedStatesrequests
thatCox Com municationsbe directed to produce a11item sdescribed in Part11ofA ttachm entA .

to the proposed Order.

       4.      TheUnited StatesfurtherrequeststhattheOrderrequireCox Communications

nottonotifyanyperson,includingthesubscribersorcustomersoftheaccountts)listedinPM 1




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ofAttacbmentA,oftheexistenceoftheOrdertmtilfurtherorderoftheCourt.See18U.S.C,j
2705(b).ThisCourthasàuthorityunder18U.S.C.52705*)toissueçsallor/rcommandinga
providerofelectronic com m unicationsserviceorrem ote com puting selwice to whom aw arrant,

subpoena,or courtorderisdirécted,forsuch period asthecotu'tdeem sapproptiate,notto not'
                                                                                      tfy

any otherperson oftheexistenceofthewarrant,subpoena,orcourtorder.''Id In thiscce,such

an orderw otlld be appropriate because the requested Orderrelatesto an ohgoing crim inal

investigation thatisneitherpublicnorknown to a11ofthetargetsoftheinvestigation,and its

disclosurem ay alertthetargetstothe ongoing invegtigation. A ccordingly,there isreason to

believethatnotiûcation oftheexistenceoftherequestedOrderwillseriouslyjeopardizethe
investigation,includingby givingiargetsan opportunitytofleeorcontinueflightfrom
prosecution,destroy ortam perwith evidence,changepatternsofbehavior,ornotify

confederates.See18U.S.C.j2705($(2),(3),(5).Someoftheevidenceinthisinvestlgationis.
storedelectronically.Ifalertedtotheinvestigation,.thesubjectsunderinvestigationcould
destroy that,evidence,including inform ation saved to theirpersonalcom puters,

              TheUnited Statesfurtherrequeststhatthe Cotlrtorderthatthisapplication mld

any resulting orderbe sealed untilfurtherorderofthe Court. As explained above,these

docum entsdiscuss an ongoing crim inalinvestigation thatisneitherpublicnorknown to a11of

thetargetsoftheinvestigation.Accordingly,thereisgoodcauset6sealthesedocllments

beoausetheirprematuredisclosuremaysedouslyjeopardizethatinvestigation.
       6.     TheUnited Statesrequeststhatthe Clerk oftheCoul'tprovidetheUnited States

Attorney
       .'sOfficewiththreecel'tifiedcopiesofthisapplicationandOrder.
                                           Respectfullysubmitted,
                                                   RICK A .M ON TCA STLE
                                                   Acting United StatesAttorney



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                                 By:
                                       Zac ry .Lee
                                       V S N O :47087
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                                       UsAvAW .EDFAbincdona usdoi.cov




                                   5
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        IT ISFURTHER ORDERED under18U.S.C.j27051)thatCoxCommunicationsshall
notdisclosbtheexistenceofthe application oftheUnited States,ortheexistenceofthisOrderof.

theCourqtothesubscribersoftheaccountts)listedinAttachmentA,ortoanyoiherperson,
unlessand untilotherwiseauthbrized to do so by the Court,exceptthatCox Com m unications

m ay disclosetllisOrderto an attorneyforCox Commtmicationsforthepurposeofreceiving

legaladvice,

               IT IS FURTHER ORDERED thattheapplioation andtliisOrdéraresealed lmtil
otherwise ordered by the Court.




 /,
  /g//v-
D ate                                           Honorable Pam ela M eade Sarg
                                                U nited StatesM agistrate Judge




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